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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

 TRENELL MURPHY                                     :
                                                    :
                                                    :
        v.                                          :       Civ. No. ELH-17-1836
                                                    :      (Related Crim. No. ELH-09-0098)
                                                    :
 UNITED STATES OF AMERICA                           :
                                                    :

                          JOINT MOTION TO REDUCE SENTENCE

        Petitioner Trenell Murphy and the United States of America, by counsel, hereby jointly

request, pursuant to 28 U.S.C. § 2255, that the Court grant partial relief with respect to the

Petitioner’s pending 2255 motion (ELH-09-0098 ECF 71) and reduce the sentence currently

imposed upon the Petitioner in criminal case number ELH-09-0098. In support of this Motion,

the parties state as follows:

        1.      The Petitioner is currently serving a-20 year sentence for a conviction of possession

with the intent to distribute a controlled substance, in violation of 21 U.S.C. § 841. ECF

        2.      The Petitioner has filed a motion, pursuant to 28 U.S.C. § 2255, in which he asserts

various issues related to alleged police misconduct. The Government does not concede that the

Petitioner would be entitled to relief on those grounds.

        3.      Nevertheless, the parties are in agreement that the unique circumstances of this case

warrant some relief under section 2255 and have prepared this joint motion to request that the

Court reduce the petitioner’s sentence based on a joint recommendation by the parties.

        4.      Section 2255(b) of Title 28 provides that, if a district court determines that a

Petitioner is entitled to relief under the statute, it may vacate and set aside the conviction, discharge

the prisoner, grant a new trial, or may “correct the sentence as may appear appropriate.” That

provision confers a “broad and flexible” power to district courts to fashion an “appropriate
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remedy” in 2255 cases. See United States v. Hillary, 106 F.3d 1170, 1171-72 (4th Cir. 1997)

(quoting United States v. Garcia, 956 F.2d 41, 45 (4th Cir. 1992)). In this case, and in light of the

broad discretion afforded the Court here, the parties have conferred on the issues raised in the

Petitioner’s anticipated Motion, on the case in general, and on the facts of the crime of which the

Petitioner was convicted. Taking into consideration those circumstances, as well as the factors set

forth in 18 U.S.C. § 3553(a) (setting forth the factors and purposes to be considered at sentencing),

the parties have agreed to recommend that the Court grant partial 2255 relief as follows: that the

sentence be reduced to by five years.

       5.      The parties believe that the requested, modified sentence represents a reasonable

resolution of the issues raised in the Petitioner’s 2255 Motion (taking into account the Petitioner’s

claims in his Motion, the government’s arguments in opposition, and the possibility of a re-

sentencing in the event that the Petitioner were to prevail in the Motion). The parties also believe

that the sentence recommended above is a reasonable and appropriate sentence, taking into

consideration the factors, purposes and needs set forth in 18 U.S.C. § 3553(a). Specifically, the

parties agree that the recommended sentence, when considered in light of the period of

imprisonment the Petitioner has already served, properly accounts for the nature and seriousness

of the offense, the Petitioner’s personal history and characteristics and the need for the sentence to

promote respect for the law, deter future crimes by the Petitioner and by others, and protect the

community from further crimes by the Petitioner. The recommended sentence, again taking into

consideration the period of imprisonment already served by the Petitioner and the circumstances

set forth in the Petitioner’s pending Motion to Vacate, is sufficient, but not greater than necessary,

to comply with the purposes set forth in 18 U.S.C. § 3553(a).



                                          CONCLUSION
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       For the foregoing reasons, the United States and the Petitioner respectfully request that the

Court grant partial relief with respect to the Petitioner’s Motion to Vacate, as set forth above.

 Robert K. Hur
 United States Attorney


 By: _________/s/_____________                        ____________/s/______________
 Patricia McLane                                      C. Justin Brown, Esq.
 Assistant United States Attorney                     Counsel for the Petitioner




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